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     Attorney for Defendant
 5   JESUS ALBERTO SANCHEZ-LOPEZ
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 7                         UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                         ) Case No.: Cr.11-0096 JAM
10   UNITED STATES OF AMERICA,           )
                                         )
11              Plaintiff,               ) APPLICATION AND ORDER TO
                                         ) CONTINUE SENTENCING TO
12        vs.                            ) SEPTEMBER 24, 2013
     JESUS ALBERTO SANCHEZ-LOPEZ,        )
13                                       )
                Defendant.               ) Hon. John A. Mendez
14                                       )
                                         )
15

16
           This matter is before the Court on August 6, 2013 at 9:45
17

18   a.m., for sentencing.     Counsel for the defense is requesting a

19   continuance to September 24, 2013, at 9:45 a.m. to prepare for
20
     sentencing.   Government counsel, Paul Hemesath, is not opposing
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     this request.
22
           Good cause appearing,
23
           IT IS ORDERED that this matter is to be continued from
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25
     August 6, 2013, at 9:45 a.m., to September 24, 2013, at 9:45

26   a.m. for Judgment and Sentencing.
27   ///
     ///
28   ///


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     Dated: August 1, 2013
 1

 2                              /s/ John A. Mendez________________
                                JOHN A. MENDEZ
 3                              UNITED STATES DISTRICT COURT JUDGE
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